     USCA11 Case: 22-10450       Document: 16   Date Filed: 03/11/2022   Page: 1 of 5



                    UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT

                                 CASE NO: 22-10450-F


BRUCE MUNRO, et al.,
        Plaintiffs-Appellants,
v.

FAIRCHILD TROPICAL BOTANIC GARDEN, INC.,
et al.,

     Defendants-Appellees.
_____________________________________/

        APPELLEES’ CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT


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  USCA11 Case: 22-10450          Document: 16   Date Filed: 03/11/2022    Page: 2 of 5
Munro v. Fairchild Tropical Botanic Garden, Inc., Case No. 22-10450-F


        APPELLEES’ CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rule 26.1-1(a), Appellees Fairchild Tropical Botanic Garden, Inc., Night Garden,

LLC, Kilburn Live, LLC, Nannette Zapata, Kilburn Media LLC, Mark Manuel,

Imaginer Ltd., Imaginer, Inc., and Max Painter (“Appellees”) certify that the

following is a full and complete list of all trial judges, attorneys, persons,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of this action and to this appeal, including subsidiaries,

conglomerates, affiliates, parent corporations, any publicly held corporation that

owns 10% or more of the party’s stock, and other identifiable legal entities related

to any party:

         Bruce Munro, Ltd d/b/a Bruce Munro Studio (Appellant)

         Fairchild Tropical Botanic Garden, Inc., a privately held non-profit

                  corporation with no parent company (Appellee)

         Girones, Giselle M., Esq. (Attorney for Appellees)

         Imaginer Inc., a privately held corporation with no parent company

                  (Appellee)

         Imaginer Ltd., a privately held limited U.K. company with no parent

                  company (Appellee)


                                         C-1 of 4
4832-9930-5098, v. 1
  USCA11 Case: 22-10450            Document: 16   Date Filed: 03/11/2022   Page: 3 of 5
Munro v. Fairchild Tropical Botanic Garden, Inc., Case No. 22-10450-F


         Kilburn Live, LLC, a privately held limited liability company with no parent

                  company (Appellee)

         Kilburn Media LLC, a privately held limited liability company with no

                  parent company (Appellee)

         Law Offices of Carl F. Schwenker (Attorneys for Appellants)

         Louis, The Honorable Lauren F. (United States Magistrate Judge, Southern

                  District of Florida)

         Lovelady, Allison S., Esq. (Attorney for Appellees)

         Manuel, Mark (Appellee)

         Munro, Bruce (Appellant)

         Night Garden, LLC, a privately held limited liability company wholly

                  owned by Kilburn Live, LLC (Appellee)

         Painter, Max (Appellee)

         Rothman, Joel B. (Attorney for Appellants)

         Zapata, Nannette (Appellee)

         Schwenker, Carl F. (Attorney for Appellants)

         Shullman, Deanna K., Esq. (Attorney for Appellees)

         Shullman Fugate PLLC (Attorneys for Appellees)

         Singhal, The Honorable Raag (United States District Judge, Southern

                  District of Florida)

                                          C-2 of 4
4832-9930-5098, v. 1
  USCA11 Case: 22-10450        Document: 16        Date Filed: 03/11/2022   Page: 4 of 5
Munro v. Fairchild Tropical Botanic Garden, Inc., Case No. 22-10450-F


         SRIPLAW, P.A. (Attorneys for Appellants)

         In accordance with Eleventh Circuit Rule 26.1-3(b), Appellees further

certify that no publicly traded company or corporation has an interest in the

outcome of this appeal or owns any stock in Appellees.

                                            /s/ Deanna K. Shullman
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                                            Allison S. Lovelady
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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 11th day of March, 2022 the original and

three copies of the foregoing has been filed and served by CM/ECF on all counsel

or parties of record on the service list.

                                   SERVICE LIST

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                                        C-3 of 4
4832-9930-5098, v. 1
  USCA11 Case: 22-10450    Document: 16   Date Filed: 03/11/2022   Page: 5 of 5



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                                          Deanna K. Shullman




                                   C-3 of 4
4832-9930-5098, v. 1
